Case: 1:22-cv-01291 Document #: 1-7 Filed: 03/10/22 Page 1 of 5 PageID #:50




                    Exhibit G
                     Case:
earing Date: No hearing      1:22-cv-01291 Document #: 1-7 Filed: 03/10/22 Page 2 of 5 PageID #:51
                         scheduled
ocation: <<CourtRoomNumber>>
Jdge: Calendar, 3
                  This form is approved by the Illinois Supreme Court and is required to be
                                                                                            accepted in all llinoisFHbEDt Courts.
                  STATE OF ILLINOIS,                                                                  7 or Court Us2I3120227 127167 PM
                         CIRCUIT COURT                                                                                       IRIS Y. MARTINEZ
                                                                                                                            CIRCUIT CLERK
                                                                           SUMMONS                                          COOK COUNTY, IL
             Cook                  [-] county                                                                               2022CH01062
                                                                                                                            Calendar, 3
             Instructions vv
                                                                                                                            16618927
         Enter above the
         county name where
         the case was filed.         ATHENA BITCOIN GLOBAL
         Enter your name as           Plaintiff / Petitioner (First, middle, last name)
         Plaintiff/Petitioner.
         Enter the names of ail
         people you are suing as      V.
         Defendants/
         Respondents.
        Enter the Case               JANE DOE-OVERTON, INDIVIDUALLY & AS PART OF TH                            2022CH01062
        Number given by the           Defendant / Respondent       (First, middle, last name)                  Case Number
        Circuit Clerk.


        In 1, if your lawsuit is      1s    Information about the lawsuit:
        for money, enter the
        amount of money you                 Amount claimed;             $ 3,000,000.00
        seek from the
        Defendant/                    2,    Contact    information for the Plaintiff/Petitioner:
        Respondent.
                                            Name (First, Middle, Last): ATHENA BITCOIN GLOBAL
        In 2, enter your                    Street Address, Apt #:     1332 N. HALSTED ST., SUITE 401
        contact information.
        [f more than 1 person               City, State, ZIP:     CHICAGO, IL 60642
        is bringing this                   Telephone:      (312) 690-4466
        lawsuit, attach an
                                           See attached for additional Plaintiff/Petitioner contact information
        Additional
        Plaintiff/Petitioner
        Contact Information                Contact information for the Defendant/Respondent:
        form,                              Name (First, Middle, Last): JANE DOE-OVERTON, INDIVIDUALLY & AS PART OF THE
                                                                                                                       CON
        In 3, enter the name of            Street Address, Apt#:         1917 SAGE TRAIL
       the person you are
       suing and their                     City, State, ZIP:     HURST, TX 76054
       address.                            Telephone:     (817) 714-6929
       If more than 1 person is
                                           See attached for additional Defendant/Respondent contact information
       being sued, attach an
       Additional
       Deféendant/Respondent
       Contact Information
       form.




                                              You have been sued.
                                              Follow the instructions on the next page on how to appear/answer.
                                                   ¢   Ifyou do not appear/answer the court may decide the case without hearing
                                                                                                                                from you and
                                                       enter a judgment against you for what the plantiff/petitioner is asking.
       Important Information for the
       person receiving this form:                ¢   Your written appearance/answer must be filed on time and in the proper form.
                                                  °    Forms for a written appearance/answer are available here:
                                                       http://www.illinoiscourts.gov/forms/approved/default.asp
                                             If you cannot afford to pay the fee for filing your appearance/answer, ask
                                                                                                                        the circuit clerk for an
                                             application for waiver of court fees.
                                             You should read all of the documents attached.




      SU-S   1503.1                                                       Page 1 of 4
                                                                                                                                        ©   (09/18)
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                                                                Enter the Case Number given by the Circuit Clerk:

   In 4, the Circuit Clerk      4.     Instructions for person receiving this form (Defendant/Respondent):
   will give you the court
   date or appearance
                                       To respond to this Summons you must:
   date, check any boxes              1     Goto court:
  that apply, and include                   On this date:
  the address of the
                                                                                              at this time:                       Jam.         pm.
  court building and                        Address:                                                                Court Room:
  room where the                            City, State, ZIP:
  Defendant/
  Respondent must file
  their response.
                                      [J    File a written Appearance and Answer/Response with the court:
                                            On or before this date:              at this time:                                      a.m.       p.m.
                                            Address:
                                            City, State, ZIP:

                                      [V]   File a written Appearance and Answer/Response with the court within 30 days from
                                            the day you receive this Summons (listed below as the “Date of Service").
                                            On this date:                                    at this time:                 _       Bam     gpm
                                            Address:
                                            City, State, ZIP:       CHICAGO, IL

                                                         2/8/2022 12:16 PM IRIS Y. MARTINEZ
          STGP!                Witness this Date:
  The Circuit Clerk will
  fill in this section.
                               Clerk of the Court:




         STOP!                This Summons        must be served within 30 days of its date, listed above.
 The officer or process
 server will fill in the
 Date of Service.
                              Date of Service:
                                                    (Date to be entered by an officer or process server on the copy of this Summons
                                                                                                                                    left
                                                    with the Defendant/Respondent or other person.)                          ,



                             To serve this Summons, you must hire the sheriff (or a private process server outside of Cook
                                                                                                                              County) to
                             deliver it and your Complaint/Petition to the Defendant/Respondent. If the sheriff (or private
                                                                                                                              process
                             server outside of Cook County) tries but can’t serve the Summons, fill out another summons
 Plaintiff/Petitioner:                                                                                                      and repeat this
                             Process.




                             E-Filing is now mandatory for documents in civil cases with limited exemptions. To e-file,
                                                                                                                              you must first
                             create an account with an e-filing service provider. Visit http://efile.illinoiscourts.gov/service-prov
       Attention:                                                                                                                     iders.htm
                             to learn more and to select a service provider. If you need additional help or have trouble
                                                                                                                            e-filing, visit
                             http://www illinoiscourts.gov/faq/gethelp.asp. or talk with your local circuit clerk's office.




SU-S 1503.1                                                           Page 2 of 4                                                          (09/18)
                Case: 1:22-cv-01291 Document #: 1-7 Filed: 03/10/22 Page 4 of 5 PageID #:53

              This form is approved by the Illinois Supreme         Court and is required to be accepted in all Illinois Circuit Courts.

              STATE OF ILLINOIS,                                                                                    Lor Court Use   Oil,

               CIRCUIT COURT                              AFFIDAVIT OF SERVICE OF
                                                               SUMMONS AND
      Cook                    COUNTY                        COMPLAINT/PETITION

       Instructions
   Enter above the
   county name where
   the case was filed,       ATHENA BITCOIN GLOBAL
  Enter your name as          Plaintiff / Petitioner (First, middle, last name)
  Plaintiff/Petitioner.
  Enter the name of the
  person you are suing as     V.
  Defendant/Respondent.
  Enter the Case            JANE DOE-OVERTON, INDIVIDUALLY & AS PART OF TH
  Number given by the         Defendant / Respondent          (First, middle, last name)                           Case Number
  Circuit Clerk.



                              **Stop. Do not complete the form. The sheriff will fill in the form **

  DO NOT complete             My name is
  this section. The                                                                                                         and | swear under oath
                                                   First, Middle, Last
  sheriff will complete
  it.                        that | served the Summons             and Complaint/Petition on the Defendant/Respondent

                                                                                                              as follows:
                             First, Middle, Last


                                    [J    Personally on the Defendant/Respondent:
                                          Male:    []    Female:     [] Approx. Age:                                 Hair Color;
                                          Height:             Weight:
                                          On this date:                                       at this time:                          (Jam.    [Jp.m.
                                          Address:
                                          City, State, ZIP:

                                   [J]   Atthe Defendant/Respondent’s home:
                                         On this date:                      at this time:                                           Jam.     [Jp.m.
                                         Address:
                                         City, State, ZIP:
                                         And left it with:
                                                                  First, Middle, Last                    .
                                         Male:       []       Female:      [J         Approx. Age:
                                         and by sending a copy to this defendant in a postage-paid, sealed envelope
                                                                                                                    to the
                                         above address on                        , 20

                                   [J    On the Corporation's agent,
                                                                                   First, Middle, Last
                                         On this date:                                      at this time:                           (Jam.    [Jp.m.
                                         Address:
                                         City, State, ZIP:




SU-S 1503.1                                                          Page 3 of 4                                                                (09/18)
               Case: 1:22-cv-01291 Document #: 1-7 Filed: 03/10/22 Page 5 of 5 PageID #:54

                                            Enter the Case Number given by the Circuit Clerk:

   DO NOT complete       By:
   this section. The
   sheriff, or private
   process server will
   complete it.          Signature
                                                                          FEES
                                                                          By certified/registered   $
                                                                          Service and Return        3
                         Print Name
                                                                         Miles:                     $
                                                                         Total       _§




SU-S 1503.1                                      Page 4 of 4                                            (09/18)
